    Case 10-93904-BHL-11         Doc 2436     Filed 12/09/13   EOD 12/09/13 10:55:19       Pg 1 of 1

                              UNITED STATES BANKRUPTCY COURT                           SF00075 (rev 05/2008)
                                    Southern District of Indiana
                                    121 W. Spring St., Rm. 110
                                      New Albany, IN 47150
In re:

Eastern Livestock Co., LLC,                                 Case No. 10−93904−BHL−11
             Debtor(s).

                                 NOTICE OF DEFICIENT FILING

The Notice of Submission, which was filed on December 6, 2013, is deficient in the following
respect(s):

         Pleading should be filed in associated adversary case instead of legal case. Filing
         party to re−file in adversary case.

The above−cited deficiencies must be corrected by December 23, 2013 or the matter will be
referred to the Judge for such action as may be appropriate, including dismissal.

IF CURING THE DEFICIENCY BY PAPER FILING, INCLUDE A COPY OF THIS NOTICE.

Dated: December 9, 2013                              Kevin P. Dempsey
                                                     Clerk, U.S. Bankruptcy Court
